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 8                               UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10                                        (Western Division)
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     JEAN-JACQUES PERREY, et. al.,            )   Case No. CV-09-6508 FMC (RZx)
12                                            )
                            Plaintiffs,       )   DISCOVERY MATTER
13                                            )
             v.                               )   Hearing Date: Nov. 16, 2009
14                                            )   Time: 10:00 a.m.
     TELEVISA, S.A. DE C.V., etc., et.        )
15   al.,                                     )   NOTICE OF MOTION AND MOTION
                                              )   TO MODIFY SUBPOENA SERVED
16                          Defendants.       )   ON UNIVERSAL - POLYGRAM
                                              )   INTERNATIONAL PUBLISHING, INC.
17
                                                  Referred to the Honorable Ralph
18                                                Zarefsky, Courtroom 540
19                                                Action filed: September 8, 2009
                                                  Discovery Cutoff date, Pretrial
20                                                Conference date and Trial date: Not set
                                                  Scheduling Order Not Yet Issued
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22
     TO THE PARTIES HEREIN AND TO THEIR COUNSEL OF RECORD:
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             PLEASE TAKE NOTICE, that on Monday, November 16, 2009, at 10:00 a.m.,
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     or as soon thereafter as counsel may be heard, in Courtroom 540 of the above entitled
26
     court, located at 255 East Temple Street, Los Angeles, California, plaintiffs Jean-
27
     Jacques Perrey, Gershon Kingsley, Robert Breuer, Anthony Breuer, Frances Breuer and
28

     Motion to Modify UPIP Subpoena               1
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 1   Sylvain Meunier (“plaintiffs”) will present the following motion:
 2
 3           Pursuant to Rule 45(c)(3)(A), F.R.Civ.P., and Local Rules 37 and 45-1, plaintiffs
 4   hereby move for an order modifying the Subpoena Duces Tecum dated September 17,
 5   2009 that defendant Univision Communications, Inc. (“Univision”) has served on third
 6   party witness Universal - Polygram International Publishing, Inc. (“UPIP”) in the
 7   following respects:
 8           a.     Any and all documents reflecting, referring to or evidencing
 9                  communications between Joseph L. Golden and persons employed by or
10                  acting for UPIP (as the subpoena defines that term) are to be excluded from
11                  the scope of Category No. 1, and no such documents are to be produced;
12           b.     Category No. 4 is to be eliminated from the subpoena and no documents
13                  otherwise responsive to that category are to be produced;
14           c.     Category No. 6 is to be eliminated from the subpoena and no documents
15                  otherwise responsive to that category are to be produced;
16           d.     Category No. 7 is to be modified to exclude from its scope, all documents
17                  excluded from the scope of Category No. 1 and all documents responsive
18                  to Category Nos. 4 and 6, and no such documents are to be produced.
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20           This motion is made on the grounds that the documents referred to above (a) are
21   or reflect the work product of Joseph L. Golden, plaintiffs’ litigation counsel in this
22   action, (b) reflect privileged communications between Golden and one of his clients, and
23   (c) are neither relevant to the subject matter of the pending action nor reasonably
24   calculated to lead to the discovery of admissible evidence, all as set forth in greater
25   detail in plaintiffs’ portion of the Joint Stipulation re Motion to Modify Subpoena Duces
26   Tecum Directed to Universal - Polygram International Publishing, Inc. and the
27   Declaration of Joseph L. Golden in Support of Motion to Modify Subpoena Served on
28   UPIP filed concurrently herewith.
     Motion to Modify UPIP Subpoena               2
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 2           This motion is based on this Notice of Motion and Motion, plaintiffs’ portion of
 3   the Joint Stipulation re Motion to Modify Subpoena Duces Tecum Directed to Universal
 4   - Polygram International Publishing, Inc. and the Declaration of Joseph L. Golden in
 5   Support of Motion to Modify Subpoena Served on UPIP filed concurrently herewith,
 6   plaintiffs’ Local Rule 37-2.3 Supplemental Memorandum, if any is filed, the records and
 7   papers on file herein, and on such further argument as may be presented at the hearing
 8   on this motion.
 9
10   DATED: October 19, 2009               JOSEPH L. GOLDEN, ESQ.
                                           LAW OFFICE OF JOSEPH L. GOLDEN
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12
                                           By:    /s/ Joseph L. Golden
13                                               Joseph L. Golden, Esq.
                                                 Attorney for Plaintiffs
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     Motion to Modify UPIP Subpoena              3
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 1                                    Certificate of Service
 2
 3           The undersigned hereby certifies that all counsel of record who have consented
 4   to electronic service are being served with a copy of the foregoing document via the
 5   Central District of California CM/ECF system on October 19, 2009.
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 7                                           /s/ Joseph L. Golden
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     Motion to Modify UPIP Subpoena             4
